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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

23cv10881 (DLC)

ALEKSANDAR ZUNZUROVSEKI,
ORDER

Plaintiff,
“Vo

LIANE FISHER, et al.,

Defendants.

DENISE COTE, District Judge:

An Order of March 5, 2024 inadvertently dismissed this
action with prejudice. Accordingly, it is hereby

ORDERED that the final paragraph of the March 5, 2024 Order
is stricken.

IT IS FURTHER ORDERED that this action is dismissed without
prejudice to filing in state court. This Court will retain
jurisdiction over the issue of Rule 11 sanctions and sanctions

to be imposed pursuant to the Court’s inherent power.

Dated: New York, New York
March 6, 2024

Phau li.

DENISE COTE
United States District Judge

